                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA


 UNITED STATES OF AMERICA                        )
                                                 )          Case No. 1:09-CR-181
 v.                                              )
                                                 )          Chief Judge Curtis L. Collier
 GLENN SKILES                                    )
                                                 )

                                             ORDER

        Before the Court is Defendant Glenn Skiles’ (“Defendant”) motion to suppress the fruits of

 the search of Defendant’s residence and request for a Franks hearing (Court File No. 622). The

 motion was referred to United States Magistrate Judge William B. Mitchell Carter, who issued a

 Report & Recommendation (“R&R”) recommending Defendant’s motion and request be denied

 (Court File No. 675). Defendant filed a timely objection to the R&R (Court File No. 692). For the

 reasons expressed in the accompanying memorandum, the Court ACCEPTS and ADOPTS the

 R&R (Court File No. 675) and DENIES Defendant’s motion to suppress and request for a Franks

 hearing (Court File No. 622).



        SO ORDERED.

        ENTER:



                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




Case 1:09-cr-00181-TRM-CHS          Document 796        Filed 09/27/10     Page 1 of 1      PageID
                                          #: 1792
